           Case 1-18-43445-ess         Doc 34      Filed 04/22/19       Entered 04/22/19 09:17:15




                                                                                       1775 Wehrle Drive, Suite 100
                                                                                       Williamsville, New York 14221
                                                                                       Phone (716)204-1700
                                                                                       Fax (716)204-1702
                                                                                       http://www.GrossPolowy.com/




                                                 April 19, 2019

Chambers, Hon. Elizabeth S. Stong
United States Bankruptcy Court
Eastern District of New York
271-C Cadman Plaza East
Brooklyn, NY 11201

Re:            James Mason
Case No.       18-43445-ess
Loan No.       ...4524

Dear Hon. Elizabeth S. Stong,

       Please allow this letter to serve as a written status report, submitted on behalf of LOANCARE, LLC (the
"Secured Creditor") pursuant to the Eastern District of New York Loss Mitigation Program Procedures.

         The Debtor was denied for loss mitigation options on March 5, 2019. At the request of Debtor’s Counsel
this Firm is in the process of filing a detailed denial letter.

       If there are any questions, please feel free to contact me directly at 716-253-6200.

                                                         Very truly yours,

                                                         <<SIGGEN12>>||SIGTYPE0ENDSIGTYPE||

                                                         By:      /s/: Deborah Turofsky, Esq.

cc.    ECF and Email
       Barak P Cardenas, Esq.
